Case 1:25-cv-20757-JB Document 92-1 Entered on FLSD Docket 06/06/2025 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA

                                Case No.: 1:25-cv-20757-JB/Torres


  JANE DOE,
         Plaintiff,
  v.
  STEVEN K. BONNELL II,
         Defendant.
                                   /

                         DECLARATION OF ANDREW B. BRETTLER

         I, Andrew B. Brettler, declare, pursuant to 28 U.S.C. § 1746, as follows:

         1.      I am an attorney admitted to practice pro hac vice in the above-captioned action. I

  am a partner at the law firm Berk Brettler LLP in West Hollywood, California. Along with our

  local counsel at Bilzin Sumberg Baena Price & Axelrod LLP, we represent Defendant Steven K.

  Bonnell II. I have personal knowledge of the matters contained herein and if called upon to testify

  could offer competent testimony thereto.

         2.      I submit this Declaration in opposition to Plaintiff’s Motion for Protective Order

  Governing Discovery [ECF No. 82].

         3.      On May 14, 2025, Plaintiff’s counsel, Joan Peters, emailed me a draft stipulated

  confidentiality agreement and protective order for consideration. Attached hereto as Exhibit A is

  a true a correct copy of the email and attachment that Ms. Peters sent me on May 14, 2025.

         4.      I reviewed Plaintiff’s draft order and provided redlined comments and proposed

  revisions to Plaintiff’s counsel by email on May 16, 2025. The proposed revisions omitted the

  protections that Plaintiff’s counsel proposed to shield the identity of witnesses and/or potential
Case 1:25-cv-20757-JB Document 92-1 Entered on FLSD Docket 06/06/2025 Page 2 of 2




  witnesses. Attached hereto as Exhibit B is a true and correct copy of my email and revised draft

  stipulated confidentiality agreement, dated May 16, 2025 at 11:06 a.m. PDT.

         5.       In response, at 1:55 p.m. PDT on May 16, 2025, Plaintiff’s counsel acknowledged

  that while “witness identities [sic] are not inherently confidential,” Plaintiff intended to proceed

  with her Motion for Protective Order. Attached hereto as Exhibit C is a true and correct copy of

  Ms. Peters’ May 16, 2025 email to me.

         6.       A week later, on May 23, 2025, Plaintiff filed her Motion [ECF No. 82] attaching

  a different version of the draft order [ECF No. 82-1] than the one she shared with me on May 14.

         I declare, under penalty of perjury, that the foregoing is true and correct. Executed on

  June 5, 2025.


                                                       s/ Andrew B. Brettler
                                                            Andrew B. Brettler




                                                   2
